Case 2:22-cv-07326-MCA-LDW Document 291-17 Filed 01/31/24 Page 1 of 80 PageID: 10002




                             Exhibit 14.17
                     United States’ Motion to Enter Consent Decree,
         United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-17 Filed 01/31/24 Page 2 of 80 PageID: 10003




                  EXHIBIT A-59
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




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                         SITE INVESTIGATION/REMEDiAL
                            INVESTIGATION REPORT
                               VOLUME I - REPORT
                                 PITT-CONSOL SITE
                                NEWARK, .NEW JERSEY

                              May 2000      Project No. D2PC7245




                                         Prepared by




                            CORPORATE REME[)IATION GROUP
                                    An Alliance between
                            DuPont and The W-G Diamond Group

                                 Barley Mill Plaza, Building 27
                              Wilmington, Delaware 19880-0027




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                                                                               DuPont Engineering
                                                                               Barley Mill Plaza - Bldg. 27
                                                                               Lancaster Pike & Rte. 141
                                                                               Wilmington, DE 19805




         DuPont Engineering

                                                           May 26, 2000


        Matthew Turner
        Bureau of Federal/State Case Management
        Division of Responsible Party Site Remediation
        P.O. Box 028
        Trenton, NJ 08625-0028


        Dear Matt,

        I have enclosed three copies of the DuPont Pitt-Consol Site Investigation/Remedial
        Investigation (ST/RI) Report. One copy of laboratory data deliverables is being submitted
        under separate cover because its sheer volume necessitates special handling.

        The ST/RT Report summarizes the data and findings from an extensive field and
        laboratory investigation- Well over 200 samples were collected and analyzed from
        numerous locations designed to assess the impact from one hundred years of chemical
        manufacturing. We believe these data, coupled with information gleaned from 10 years
        worth of previous investigations, is more than adequate to accomplish study objectives
        and facilitate site reuse via our presumptive remedy of emplacing an engineered cover
        over contaminated site soils.

        Upon review of the SI/RI Report, you will see our conclusions and recommendations
        itemized in Section Seven. I have summarized the key conclusions below.

        o Surficial fill over all but the former administration area is contaminated with
          Polynuclear Aromatic Hydrocarbon (PAH) compounds. However, we believe that
          the underlying peaty clay (meadow mat) has restricted vertical migration of those
          compounds.
        o Potentially significant source areas were not identified but, in order to facilitate
          redevelopment of the site, we outlined five areas, primarily associated with former
          lagoons, for further consideration.
        o Shallow groundwater contamination is being naturally attenuated through biological
          degradation and shallow groundwater quality at the downgradient property line
          generally is within New Jersey Class HA Groundwater Standards.
        ❑ Our presumptive remedy of an engineered soil cover would address direct contact
          with site soils, the only significant potential exposure pathway.




                                                                                      IN•3980 Nev. 312000
           E. t. du Pont de Nemours and Company




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        As you know, we are very interested in returning this site to productive use as soon as
        possible_ New Jersey's Brownfields and Contaminated Site Remediation Act was meant
        to facilitate cleanup of such sites by removing impediments in the law and creating
        incentives_ We believe the process we collectively set in motion with this investigation
        can be a positive example of the Act's potential (i.e., a flexible approach combining the
        site investigation and remedial investigation steps, and considering future land use and
        site-specific risk).

        We are recommending a phased approach to site remediation. First, we request your
        approval of this report and our proposal to develop a remedial action work- plan (RAWP)
        focusing on five areas requiring further attention. Second, upon your approval of the
        RAWP, we, in partnership with a developer, propose to design and construct a cover for
        site soils integrated with future industrial/commercial land use.

        Al Boettler will call you in a few weeks to check on the status of your review and, if you
        feel it beneficial, plan a meeting to discuss your preliminary comments. In the mean
        time, feel free to call Al Boettler at 302-892-0647 if you have any questions.


        Sincerely,
                .SJ
       /`
        Ralph Sloat
        Site Director
                          9
        DuPont Corporate Remediation Group




        cc:    Edward Seger, DuPont CRG, Pompton Lakes
               Al Boettler, DuPont CRG
               Bob Genau, DuPont CRG
               Alan Egler, WCD
               John Ristow, WCD
               File: PC.7245.0300




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I.




       SITE INVESTIGATION/REMEDIAL
       INVESTIGATION REPORT
       VOLUME I - REPORT
       DUPONT PITT-CONSOL SITE
       NEWARK, NEW JERSEY




       May 26, 2000                                            Project No. D2PC7245

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          CORPORATE REMEDIATION GROUP
                   An Affiance between
           DuPont and The W-C Diamond Group

              Barley Mill Plaza, Building 27
           Wilmington, Delaware 19880-0027




                                                                                    IL   -
               Alan P. Egler                   Ralph Sinai            Robert B. Genau
               W-C Diamond                     DuPont CRG              DuPont CRG
              Project Manager                  Site Director             Geologist




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     Appendix H                 Laboratory Report (bound separately — Books 1-32)




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      Executive Summary
      The Pitt-Consol site consists of approximately 37 acres and is located in Essex County at
      191 Doremus Avenue, Newark, New Jersey, 07105. The facility ceased manufacturing
      operations on May 23, 1983, and the entire facility was dismantled by January 1986. DuPont
      entered into a Memorandum of Agreement (MOA) with New Jersey Department of
      Environmental Protection (NJDEP) on March 20, 1998 to conduct a cleanup of the property.
      DuPont submitted a Preliminary Assessment (PA) of the site in April 1998. NJDEP approved
      DuPont's Site Investigation/Remedial Investigation (SI/RI) Work Plan on July 14, 1999.
      The objective of the SI/RI was to determine the nature and extent of soil and groundwater
      contamination from past manufacturing operations. Investigations were performed on the
      following media:
             ❑ On-site soil
             ❑ On-site groundwater
             ❑ On-site lagoons
             ❑ Off-site soil and groundwater

      The on-site investigations involved sampling areas of concern (AOCs), including AOC I--
      manufacturing/storage area, AOC 2-pitch storage and tar tank farm, and AOC 3—former
      lagoons. In addition, an on-site investigation of the former administration area was conducted.
      On-site groundwater was investigated by sampling 12 existing monitoring wells and seven
      replacement wells.
      Off-site soil and groundwater contamination were assessed through an evaluation of data
      collected from reviewing public files and assessing soil and groundwater contamination at the
      site perimeter. Due to the significant number of off-site contamination sources, industrial filling
      of the area, the fact that primary constituents of concern (COCs) at the site are commonly found
      in asphalt roadways and macadam (which surround the site), and the existence of multiple
      upgradient sites with similar constituents of concern, DuPont believes that additional efforts to
      delineate constituents off-site to residential soil criteria arc unwarranted.
      During this SI/RI, 204 soil samples, seven lagoon characterization samples, and 19 groundwater
      samples were collected and analyzed. In addition, 13 permeability tests were conducted, seven
      replacement monitoring wells were installed, groundwater levels were measured in monitoring
      wells, and a file search on off-site properties was conducted. DuPont's assessment of these data
      plus previous data and information (see the Preliminary AssessmentPitt-Consol; CRG 1998)
      resulted in the conclusions listed below.
             ❑ Site Characterization Complete
               Data from over 200 samples coupled with information gleaned from 10 years worth of
               previous investigations were adequate to accomplish study objectives and facilitate site
               reuse via our presumptive remedy — engineered soil cover. Additional efforts to delineate
               constituents to residential soil criteria offsite are unwarranted because primary COCs at
               the site are commonly found in asphalt roadways and macadam (which surround the site)
               and at neighboring properties.

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                                       10013
      Executive Summary
              U     Vertical Extent of Soil Contamination
                    The peaty clay layer appears to be an effective barrier to vertical migration and is
                    therefore considered the vertical extent of contamination. In AOC 3, where the peaty
                    clay layer is less than 2 feet or possibly absent, contamination may extend to the deeper
                    sand aquifer
              ❑ Significant Source Area(s)
                A practical definition of source area has been developed to identify and assess
                contaminated areas that potentially require mitigation. The definition below was used to
                outline such areas and determine the depths of concern. An area was considered a
                potentially significant source if the following conditions were met.
                               Presence of at least one contaminant in soil at a concentration of more than
                               1,000 times it's relevant criteria; and
                               Presence of that-same contaminant in groundwater (as detected in monitoring
                               well(s) near the downgradient property line) at a concentration more than 10 times
                               the New Jersey Class IIA groundwater standard criteria.
                   Based on the definition above, no potentially significant source areas were identified on
                   the site.
          ❑ Areas to Address in Remedial Action Work Plan
            In order to facilitate redevelopment of the site, DuPont proposes to address areas
            characterized solely by a single soil contaminant exceedence in excesss of 1,000 times
            the relevant criteria. Five such areas were outlined based on the "1,000 times" criteria.
          ❑ Natural Biodegradation of Shallow Groundwater
            With the exception of two shallow monitoring wells, other shallow wells are generally
            clean of organic compounds. In addition, comparison of historical to recent data shows
            significant decreases in contaminant loadings over time at individual wells, and
            comparison of data from different wells over horizontal distance shows significant
            decrease in contaminant concentrations in the downgradient direction. Based on these
            data, it appears that essentially complete natural biodegradation of organic contaminants
            is occurring_
          ❑ Deeper Aquifer
            Deeper groundwater quality reflects a different contaminant suite from the shallow zone.
            Although phenolics and cresols are present, BTX compounds were detected at elevated
            levels. These BTX compounds, not widely encountered in shallow groundwater and not
            associated with on-site activities, were detected in upgradient wells, as well as
            downgradient wells, indicating off-site sources.
      DuPont recommends a phased approach to site remediation. Phase 1 would consist of a
      Remedial Action Work Plan focused on addressing contaminated soil areas. Phase 2 would
      consist of design and construction of a soil cover to eliminate the only significant exposure
      pathway, direct contact with site soils.



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     SECTIONONE                                                                                                 Introduction

      1.1    SITE DESCRIPTION AND GEOGRAPHIC SETTING
      The Pitt-Consol site consists of approximately 37 acres and is located in Essex County at
      191 Doremus Avenue, Newark, New Jersey 07105. The facility ceased major manufacturing
      operations on May 23, 1983, and the entire facility was dismantled by January 1986. Site
      operations were primarily involved in the manufacture of alkylated phenols, particularly methyl
      phenol (cresol). The operations included an alkylation unit, a natural acid plant, a synthetic
      cresol plant, and several aboveground tank and drum storage areas.
     The site is located west of Doremus Avenue in Newark, New Jersey, adjacent to exit 15E of the
     New Jersey Turnpike (see Figure 1-1). The site is bordered on the south by the Nimco
     Company, to the west by Avenue P. the north by Roanoke Avenue, and to the east by Devino
     Brothers property. The site consists of Blocks 5016, Lot I and Block 5010, Lot 10. The closest
     surface water body is the Passaic River, located approximately 600 feet to the east of Doremus
     Avenue.
     The Pitt-Consol site lies within an industrial zone along the Passaic River commonly referred to
        the "ironbound section" of Newark because various rail lines enclose the area. Prior to site
     as
     industrialization, the entire area was part of what was once referred to as the "Newark
     Meadows". By 1930, the site was no longer depicted as meadows or "meadow mat" on regional
     maps. Instead, it was covered with "historic fill" to allow development. A composite map,
     summarizing the fill areas and labeling the type of fill, indicates that the area upgradient from the
     Pitt-Consol site (west and north) was filled with industrial fill (see Figure 1-2 - modified from
     Zdepski, 1987).
     The closest residential zones are located more than 2,000 feet to the west. The ground surface is
     generally flat and covered primarily with stone and asphalt. There is little topographic relief
     over the site, generally less than 3 feet, with topographic highs in the northern end of the
     property and the topographic low in the southeast corner of the property. Drainage on the site is
     poor, with standing water collecting in some locations. Currently the site is unoccupied and
     fenced. Neither groundwater nor surface water in the area is used as a drinking water source. A
     petition to reclassify groundwater within the ironbound section of Newark from a potable Class
     II-A designation to a nonpotable Class-B Area was submitted (2B Environmental, 1997) but has
     since been rejected_

     1.2     GEOLOGIC SETTING
     The Pitt-Consol site is underlain by four major unconsolidated units which in turn overlie a
     reddish brown shale bedrock unit (Brunswick shale) at approximately 45 to 60 feet below ground
     surface. Unconsolidated units in ascending order (from bedrock to the surface) consist of a
                                                a
     glacially derived silty clay confining unit; fine to coarse water-bearing sand unit (referred to in
     this report as the deep aquifer); a semiconfining silty organic clay and peat layer (referred to in
     this report as peaty clay); and, finally, a heterogeneous, unconsolidated, water-bearing fill unit
     (referred to in this report as historic fill and the shallow water-bearing unit). Groundwater is
     often encountered within 1 foot of ground surface. Both water-bearing units apparently
     discharge to the Passaic River to the east.



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      SECTIONONE                                                                                                  Introduction

      1.3            HISTORICAL INFORMATION

      1.3.1           Industrial History and Past Production Processes
      The Pitt-Consol site began industrial operations in the late 1800s. From the late 1800s until
      1983, the facility manufactured road tar, cresols, phenols and cresylic acid. A summary of the
      industrial history, detailing dates and the industrial operator, is presented below.
            ❑ Late 1880s to 1955—Judson Butterworth, Inc./Reilly Tar and Chemical, Inc.
            ❑ 1955 to 1966—Pittsburgh Consolidated Coal Company (Pitt-Consol)
            ❑ 1966 to 1981—Pitt-Consol Chemical Company (owned by Conoco, Inc.)
            ❑ 1981 to 1983—Pitt-Consol Chemical Company (owned by DuPont)

      Little information is available on production operations at the facility prior to its acquisition by
      Pitt-Consol in 1955. Operations at the site by Judson-Butterworth, Inc., and later Reilly Tar and
      Chemical, Inc., are reported to have included the manufacture of road tar and chemicals derived
      from coal processing such as phenols, cresols, and cresylic acid.
      After the facility was acquired by Pitt-Consol in 1955, operations were upgraded and expanded.
      During this period, the plant processed various products related to coal and their derivatives. All
      production processes at the Pitt-Consol site were terminated in May 1983. Production facilities
      were dismantled by January 1986. The site is now inactive.

      1.3.2 Previous Site Investigations
      Since the dismantlement of the plant, a number of studies and environmental investigations have
      been conducted. Each of these investigations and a brief summary is listed below. Additional
      information about each investigation is provided in the report entitled Preliminary Assessment—
      Pitt-Consol [Corporate Remediation Group (CRG) 1998].
           ❑ 1985 Woodward Clyde Phase I Report (June 7, 1985)
             This investigation included an aerial photograph review, a terrain conductivity survey in
             the former lagoon area, the installation of 27 soil borings and seven shallow piezometers,
             groundwater sampling of all shallow wells, water level measurements, and soil sampling
             from four locations in the vicinity of the tar tank farms.
           U 1985 Woodward Clyde Phase II Report (November 8, 1985)
             This investigation included the installation of seven shallow piezometers and one deep
             monitoring well, slug tests on 14 shallow wells, limited duration pump tests on four
             wells, a nonaqueous phase liquid (NAPL) study, two rounds of water level
             measurements, and groundwater sampling from all fifteen wells.
          U 1986 Weston Hydrogeological Study
            This study included the installation of 13 shallow piezometers and three deep monitoring
            wells, limited duration pump tests at four well cluster pairs, groundwater sampling from
            four deep wells, and water level measurements_                             -

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      SECTIONONE                                                                                                              Introduction
                       ❑ 1986 Mittlehauser Coal Tar Waste Resource Recovery and Remediation Feasibility
                         Evaluation (March 1987)
                         For this study, 18 test pits were excavated in the vicinity of the former lagoons. Physical
                         characteristics, metals, and organic analyses were performed. Results indicated that the
                         material may not be suitable for use as a fuel supplement. Chemical analysis was also
                         performed and indicated that the material has the typical composition of coal tars.
                       Ca 1987-1994 New Jersey Pollutant Discharge Elimination System (NJPDES) Groundwater
                          Monitoring
                          Groundwater monitoring began in 1987 and continued quarterly through 1994.
                          Noncompliance with permit limitations were reported for each quarter. In February
                          1995, the facility's former Discharge to Groundwater (DGW) permit was determined by
                          the New Jersey Department of Environmental Protection (NJDEP) to meet the NJPDES
                          permit exemption criteria. Therefore, DuPont discontinued groundwater monitoring
                          following the fourth quarter of 1994.
                       ❑ 1989 CI12M Hill Summary of Existing Environmental Data
                         This report summarized and provided a comprehensive data summary. Based on this
                         information, conclusions were presented, along with discussion of the relationship
                         between the Phase I aerial photograph interpretation and the results of the Mittelhauser
                         study.
                       ❑ 1992 CH2M Hill Site Investigation Summary and Report of Findings (February 1992)
                         This investigation involved a well record search of wells within a 0.5-mile radius of the
                         site, a tidal study, one additional well installation, the sampling of four deep wells and
                         their corresponding shallow wells, and five surface soil samples from former tanks.
                         Groundwater flow and average hydraulic conductivity was determined, and the lagoon
                         boundary was delineated.
                       ❑ 1995 USEPA Request for Info (Re: Diamond Alkali Superfund Site, Passaic River Study
                         Area)
                         In response to an Environmental Protection Agency (EPA) request for information, a
                         document was prepared addressing issues such as site ownership, permits, manufacturing
                         processes, and waste practices.
                       U 1996 Ashland Chemical Company (Re: Results of Hydro punch Ground Water
                         Samples)(August 1995)
                         In August 1995, 11 groundwater samples were obtained and analyzed for benzene.
                         Samples were obtained between the southwest corner of the site along a linear line
                         northeastward extending to just beyond the intersection of Foundry Street and Avenue P.
                         Benzene concentrations ranged from 0.79 to 32 micrograms per liter (µg/L).




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     SECTIONONE                                                                                               Introduction

     1.4          OBJECTIVES AND SCOPE OF WORK
     The objective of the SI/RI was to determine the nature and extent of soil and groundwater
     contamination from past manufacturing operations. Investigations were performed on the
     following media:
           ❑ On-site soil
           ❑ On-site groundwater
           ❑ On-sitc lagoons
           U Off-site soil and groundwater

     The on-site investigations involved sampling areas of concern (AOCs), including AOC 1—
     manufacturing/storage area, AOC 2-pitch storage and tar tank farm, and AOC 3—former
     lagoons. ' In addition, an on-site investigation of the former administration area was conducted.
     On-site groundwater was investigated by sampling existing monitoring wells, including six
     replacement wells. Figure 1-3 shows the locations of these AOCs and the former administration
     area.
     Off-site soil and groundwater contamination were assessed through an evaluation of data
     collected from reviewing public files and assessing soil and groundwater contamination at the
     site perimeter. DuPont used data from the file review and perimeter investigation to determine
     whether subsequent phases of off-site investigation would be required.




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      SECTIONTWO                                                                       on-Site Soil Investigation

      2.1          OBJECTIVE AND APPROACH
      The objectives of the on-site soil investigation were to determine the vertical extent of
      contamination, horizontally characterize physical and chemical properties of soils, and
      characterize potentially significant source areas. DuPont sampled and analyzed fill material,
      assessed the continuity and permeability of the peaty clay, and analyzed samples of peaty clay
      and the deeper clay overlaying the Brunswick Shale.

      2.2          SAMPLING LOCATIONS
      Ninety-four (94) soil borings and seven lagoon characterization borings were drilled. A map
      showing the AOCs, former administration area, and sampling locations is included as Figure 2-1.
      Figure 2-1 also shows the number and depth of samples that were collected at each boring, as
      well as the type of media sampled (i.e., soil versus lagoon material). Sampling results associated
      with each area of interest within AOCs arc discussed in Appendix F.
      The sampling locations were modified if rubble, asphalt, or concrete prevented soil sample
      collection. In such cases, the sample was relocated to the next closest area without surface
      obstructions that allowed sample collection. Sample locations also were moved to preferentially
      encounter potential contamination (e-g_, discolored soil) based on visual evidence. Final sample
      locations were surveyed for the record and appear on Figure 2-1.

      2.3          SAMPLING PROCEDURES
      A direct-push sampling technology (Geoprobe®) was used to collect subsurface stratigraphic
      data, identify the biased fill and peaty clay sample depths, and collect soil samples. Each
      Geoprobe® sample was screened immediately using a photoionization detector (PID), and the
      reading was recorded. Upon completion of each boring, the boreholes were sealed using
      bentonite pellets. When the use of the Geoprobe® was limited by downhole conditions or
      produced insufficient sample volume, auger methods were used to obtain samples. When
      necessary, a hollow-stem auger drilling rig was used to collect three 3-inch inside diameter
      split-spoon samples ahead of the lead auger over 24-inch intervals. Each 2-foot long split-spoon
      sample was screened immediately using a PID, and the reading recorded.
      A field geologist selected the peaty clay sampling interval for permeability testing by logging the
      Geoprobe® samples. Hollow-stem augers were used to drill to a point above the selected sample
      interval and Shelby tube samples were collected for laboratory permeability testing.
      All sampling techniques were in accordance with the methods described in the 1992 NJDEP
      Field Sampling Procedures Manual.                                   -




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      SECTIONTWO                                                                          on-site son investigation

      2.4           SAMPLE COLLECTION AND ANALYSIS
      A geologist performed field analyses (i.e., visual, and field instrument screening) on the material
      contained in the push-tubes and split-spoon samplers retrieved from the boreholes. The material
      was classified using the Unified Soil Classification System (USCS).
      Soil samples from each boring location were submitted to a NJDEP-certified laboratory and were
      analyzed for volatile organic compounds (VOCs), semivolatile organic compounds (SVOCs),
      inorganic compounds, and metals (see Table 2-1). These analytical parameters were selected
      based on constituents associated with site activities. Table 2-2 provides a sampling summary
      that shows the relationship of each area of interest (listed by AOC) to boring locations and
      describes the number and type of samples collected.


      2.5           EQUIPMENT DECONTAMINATION PROCEDURES
      Sampling equipment was decontaminated in accordance with the 1992 NJDEP Field Sampling
      Procedures Manual. Drilling rigs were steam-cleaned thoroughly or manually scrubbed after
      initial arrival on-site and between drilling locations. Large equipment and machinery were
      steam-cleaned at a temporary decontamination pad. Small equipment (e.g., hand augers,
      split-spoons, trowels) was decontaminated at the edge of the exclusion zone.
      All decontamination fluids and wastes were containerized for characterization and proper
      disposal. The outside of all sample containers was decontaminated prior to packaging.


      2.6          DESCRIPTION OF SOIL
      Soil borings showed that the site is completely covered by a heterogeneous fill layer (historic
      fill) consisting of silty clay, gravel, cinders, brick, and wood fragments. The fill varies in
      thickness from 2 to 18 feet (see Figure 2-2) but typically ranges from 6 to 8 feet. A natural peaty
      clay layer (also known as "meadow mat") underlies the fill.
      The peaty clay varies in thickness from 2 to 26 feet (see Figure 2-3) with the peaty clay unit
      thinning toward the western edge of the site. In four borings (F05-01,103-01, I05-01, and
      K06-01) peaty clay samples were not obtained even though drilling techniques were changed to
      hollow-stem auger methods in an attempt to sample the peaty clay unit. Thirteen shelby tube
      samples were collected at various locations from depths selected to encounter the peaty clay.
      Laboratory permeability tests were conducted on these samples. Test results indicated that 11 of
      the shelby tubes yielded peaty clay (fill was collected inadvertently in the other two tubes) and
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      the hydraulic conductivity of the samples ranged from 8 x 10-6 to 8 x 10 centimeters per second
      (cm/sec). Geotechnical results in summary and individual format are presented in Appendix A.
      The deeper sand aquifer underlies the peaty clay and consists of medium to coarse red sand.
      Five borings were drilled through the sand and into the deep clay. The 5 borings were located at
      each corner and in the middle of the site. These borings plus monitoring well logs indicated that
      the sand is 8 to 20 feet thick. Beneath the sand is a red glacial clay that transitions to bedrock
      (Brunswick Shale) with increasing depth.
      Boring logs arc presented in Appendix B.
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      SECTIONTWO                                                                         On-Site Soil Investigation

      2.7         ANALYTICAL RESULTS
     Field data and analytical results for the former administration area and AOCs 1, 2, and 3 were
     reviewed and evaluated. Data for these areas are presented in Appendix C with constituent
     concentrations that exceeded New Jersey Non-Residential Direct Contact Soil Cleanup
     (NRDCSC) criteria bracketed. Appendix D, Figures D-1 through D-12 show the data as
     concentrations expressed in milligrams per kilogram (mg/kg) and provide color-coded symbols
     that represent the degree of NRDCSC exceedances expressed in multiples of the criteria (e.g., 10
     times the criteria, 100 times the criteria, etc.). These figures were developed for each analyte
     whose concentration exceeded NRDCSC criteria for at least 13 sample locations (see Table 2-3
     showing analytes mapped as a function of number of analytical "hits"). Appendix D, Figures D-
     13 through D-24 show perimeter sample locations with color-coded symbols that represent the
     degree of Residential Direct Contact Soil Cleanup (RDCSC) criteria exceedances. Table 2-4
     shows analytical "hits" and exceedances of RDCSC criteria for perimeter samples only.
     Sampling results associated with each area of interest within AOCs are discussed in Appendix F.

     2.7.1 Former Administration Area
     Soil samples from within this area (L15-01) and on the perimeter (J16-01 and M16-01) were
     generally clean with respect to site-related organic contaminants as compared to New Jersey
     Nonresidential Direct Contact Soil Cleanup (NRDCSC) criteria. The surficial fill samples from
     ground level (0 to 2 feet) and 4 to 6 feet below ground surface (BGS) at boring M16-01 showed
     a few polynuclear aromatic hydrocarbon (PAH) compounds that only slightly exceeded criteria.
     All three sample locations also indicated exceedances for arsenic, copper, lead, and zinc. Metals
     exceedances appeared typical of the entire site and probably are characteristic of historic fill in
     this region (see Table 2-5). The samples of peaty clay and the one sample of the deeper clay
     from boring M16-01 showed no exceedances of the NRDCSC criteria. Peaty clay and deep clay
     samples from perimeter boring M16-01 also showed no exceedances of New Jersey Residential
     Direct Contact Soil Cleanup (RDCSC) criteria.

     2.7.2 AOC 1—Manufacturing/Storage Area
     Soil samples were collected from 55 locations within this AOC. Of that total, 16 boring
     locations were sampled at three different depths: surficial (0 to 2 feet), 2-foot interval near the
     base of fill (between 4 and 10 feet BGS), and underlying peaty clay (1 to 3 feet below the top of
     the unit). One boring (G11-01) was advanced to collect a fourth sample from the deep clay and
     G08-02 was pushed near former lagoon F to provide a single lagoon sample. The remaining 37
     borings were logged and screened to identify the `worst case" interval within the fill, and a
     discrete sample was collected from that interval.
     Samples from the fill unit showed significant contamination with PAH compounds. Eight of the
     16 PAH compounds analyzed for were found consistently exceeding their respective NRDCSC.
     These were benzo(a)anthracene; benzo(a)pyrene; benzo(b)fluoranthene; benzo(k)fluoranthene;
     chrysene; dibenzo(a,h)anthracene; indeno(1,2,3-cd)pyrene; and naphthalene. Only one VOC,
     benzene, was detected in fill samples from a few locations at concentrations exceeding the


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      SECTIONTWO                                                                           on-Site Soil Investigation
      NRDCSC of 13 ppm. Appendix D, Figures D-4 to D-12 show the areal distribution of the PAH
      compounds and VOCs and their relative concentration as multiples of nonresidential criteria.
      An area near former lagoon F had elevated concentrations of multiple PAH compounds. Total
      PAH concentrations in this area ranged from 31,000 to 70,400 mg/kg. NAPL was not observed
      in this area; however, a tar-like material was present at sample location G08-02_ _.
      In addition to organics, arsenic, lead, and zinc were found in random samples both at the surface
      and near the bottom of the fill at concentrations in excess of the NRDCSC. As mentioned
      previously, these metal concentrations appear to be typical of historic fill in this region.
      Samples from the underlying peaty clay layer, in general, had fewer PAH compounds reported
      and at lower concentrations than the fill unit above (see Appendix D, Figures D-4 to D-12).
      Since the peaty clay has a relatively impermeable nature (see Appendix A), the presence of PAH
      compounds at significantly lower concentrations, probably is an artifact of sampling
      methodology. Geoprobe® samplers may carry more mobile organic contaminants downward
      with the plastic inner sleeve, thus cross-contaminating the deeper unit_ The metals characteristic
      of the historical fill layer (i.e., arsenic, lead, zinc) were not detected in peaty clay samples at
      concentrations exceeding the NRDCSC.
      One deep clay sample (GI 1-01) showed no contamination above the NRDCSC.


      2.7.3       AOC 2—Pitch Storage and Tar Tank Farm
      Soil samples were collected from 18 locations within this AOC, with three samples per location
      at the following three depths: surficial (0 to 2 feet), 2-foot interval near the base of fill (between
      4 and 10 feet BGS), .and underlying peaty clay (1 to 3 feet below the top of the unit). Reported
      results for AOC 2 fill samples had various SVOC contaminants above NRDCSC, primarily
      PAHs. Only one VOC, benzene, was detected in fill samples from a few locations at
      concentrations exceeding the NRDCSC of 13 ppm_ The contaminants are similar to those
      reported from soil samples collected in AOC 1 sampling locations.
      In addition to organics, arsenic, lead, and zinc were found in random samples both at the surface
      and near the bottom of the fill at concentrations in exce s of the NRDCSC ranging up to 10 times
      the criteria (see Appendix D, Figures D-1, D.2' and D . As discussed previously, these metals
      appear to be typical of historic fill in this region.
     The samples of peaty clay had results reported in exceedance of the NRDCSC, but to a lesser
     degree. Appendix D, Figures D-4 through D-12 show the data as concentrations expressed in
     mg/kg and provide color-coded symbols that represent the degree of NRDCSC exceedances.
     Some locations (borings A08-01, A10-01, and B09-01) showed evidence of a residual NAPL.
     As described in Section 2.7.2 above, peaty clay contaminant concentrations may be an artifact of
     sampling methodology.
     A deep clay sample from within AOC 2 (A13-01) showed no contamination above the
     NRDCSC.



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      SECTIONTWO                                                                            On-Site Soil investigation
      2.7.3            AOC 3—Former Lagoons
      Soil samples were collected from 20 locations within this AOC with three samples per location
      at the following three depths: surficial (0 to 2 feet), 2-foot interval near the base of fill (between
      4 and 10 feet BGS), and peaty clay (1 to 3 feet below the top of the peaty clay unit). Reported
      results for AOC 3 fill samples had various SVOC contaminants above NRDCSC, primarily
      PAHs. Only one VOC, benzene, was detected in fill samples from a few locations at
      concentrations exceeding the NRDCSC of 13 ppm. The contaminants are similar to those
      reported from soil samples collected in AOC 1 and 2 sampling locations.
      In addition to organics, arsenic, lead, and zinc were found in random samples both at the surface
      and near the bottom of the fill at concentrations in excess of the NRDCSC generally ranging up
      to 10 times the criteria (see Appendix D, Figures D-1, D-2, and D-3). One surficial fill sample
      (E02-01), had a lead concentration between 10 and 100 times the criteria. As discussed
      previously, these metals appear to be typical of historic fill in this region.
      Two deep clay samples within AOC 3 (B01-01 and J02-01) showed no contamination above the
      NRDCSC.
      In addition to the 20 soil boring locations, discrete samples were collected from six borings
      located to encounter material from former lagoon areas within AOC-3. Analytical results from
      these borings are discussed in Section 4.


      2.8              POTENTIALLY SIGNIFICANT SOURCE AREAS
      A practical definition of source area has been developed for use in identifying areas that may
      require attention because of their potential contribution to groundwater contamination. Inherent
      in any such definition is a cause, ie, contaminated soil mass, and effect, ie, contaminated
      downgradient groundwater. Inspection of the analytical data suggests that a sample with any
      contaminant concentration in excess of 1,000 times the relevant criteria (NRDCSC or RDCSC
      criteria) should be considered a candidate for inclusion in a potentially significant source area.
      However, since the definition includes two components, the data also must show an exceedence
      in groundwater for that same contaminant in a monitoring well near the downgradient property
      line. Hence, the definition of potentially significant source area for the Pitt-Consol site is as
      follows.
      a       Concentration in soil of any contaminant in excess of 1,000 times the relevant criteria; AND,
      o       Same contaminant concentration in downgradient monitoring well near property line in
              excess of 10 times the NJ Class TIA groundwater standard.

     Based on this definition, no potentially significant source areas were identified on the site.
     However, in order to facilitate redevelopment of the site, DuPont proposes to address areas based
     solely on a single soil contaminant exceedence in excess of 1,000 times the relevant criteria.




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      SECTIONTHREE                                                     On-Site Groundwater Investigation

      3.1               OBJECTIVE AND APPROACH
      The objectives of the on-site groundwater investigation were to provide a comprehensive
      characterization of groundwater quality and identify potential migration pathways for
      groundwater quality constituents. DuPont installed replacement wells, measured water levels
      and sampled monitoring wells for chemical analysis. DuPont used these data to qualitatively
      estimate groundwater flow direction, contaminant transport and potential for off-site impacts.

      3.2           MONITORING WELL SURVEY AND EVALUATION
      Existing monitoring wells were located in the field and evaluated with respect to usability. Each
      well was sounded and the depth compared to well construction logs. Wells that could not be
      located or could not yield representative groundwater samples were replaced with new wells
      (PD-1 and P-12). Damaged wells requiring replacement were abandoned in accordance with the
      1992 Field Sampling Procedures Manual (P-6, P-7, PD-7, P-13 and P-14). All monitoring wells
      were sampled and analyzed for analytes shown on Table 2-1, including a library search for the
      VOC and SVOC analytical suite on work plan-specified, replacement monitoring wells PD-1, P-
      7, PD-7, and P-13.


      3.3           MONITORING WELL INSTALLATION
      Seven new monitoring wells were constructed to replace previously destroyed or inaccessible
      wells. The monitoring wells were constructed at the locations of former wells PD-I, P-6, P-7,
      PD-7, P-12, P-13 and P-14. The shallow well replacements at locations P-6, P-7, P-12, P-13 and
      P-14 were screened in the fill unit above the peaty clay and provided groundwater quality and
      water level control. The deeper monitoring well replacements at locations PD-1 and PD-7 were
      screened in the lower sand aquifer underlying the peaty clay.
      Replacement wells were drilled using a hollow-stem auger drill rig. The wells were constructed
      of 2-inch polyvinyl chloride (PVC) casing with sufficient factory-slotted PVC well screen
      positioned to span the water bearing unit or aquifer. A sand pack was employed, and hole plug
      was placed on top of the sand pack to prevent grout from entering the pack. Wells were drilled,
      completed, and developed according to specifications defined by the 1992 Field Sampling
      Procedures Manual_ Monitoring well logs appear in Appendix B.
      To minimize the potential for cross-contamination between water bearing units during deep well
      installation, an outer casing was set to isolate shallow groundwater prior to drilling through the
      peaty clay confining unit.
      Existing and replacement monitoring wells were redeveloped using centrifugal pumps. All
      monitoring wells also were purged of three to five well volumes using centrifugal pumps.
      Groundwater samples were collected at least two weeks after purging using low-flow bladder
      pumps.




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      SECTIONTHREE




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      3.4          SAMPLING PROCEDURES
      Sampling of all monitoring wells was conducted in accordance with the procedures described in
      the NJDEP's May 1992 Field Sampling Procedures Manual. A New Jersey certified laboratory
      provided the pre-preserved sample containers, coolers, and chain-of-custody forms.
      Chain-of-custody procedures were provided in Appendix B of the work plan. Samples were
      shipped to Lancaster Laboratories for analysis.

      3.4.1        Water-Level and Free-Product Measurements
      After initial removal of the well cap at each location, the well headspace was screened using a
      calibrated PID, and the results were recorded. Well-cap removal and well-casing access were
      conducted in accordance with the site health and safety plan (HASP). The HASP was provided
      in Appendix C of the work plan.
      Before each well was purged, water level and total well depth were measured and recorded for
      use in calculating well volumes. All measurements were referenced to the surveyor's mark
      located at the top of the inner casing and were recorded to the nearest 0.01 foot. An oil-water
      interface probe was used to test for the presence of immiscible fluids (i.e., free product), and the
      results were recorded. No free product was detected in any site monitoring well.

      3.4.2       Well Evacuation
      Bladder pumps [rated from 0.1 to 24 liters per minute (L/min)] were used to purge and sample
      the wells. Field parameters consisting of temperature, pH, specific conductance, redox,
      dissolved oxygen, and turbidity were monitored and recorded during purging (at a minimum,
      after purging a well volume). Sampling began after stabilization of these parameters.
      Stabilization was reached when three consecutive sets of field readings collected in three-minute
      intervals were within 10 percent of each other. Purge water was discharged to the ground at a
      distance where subsequent recharge did not affect sample integrity. Purge water from deeper
      monitoring wells and shallow well P-10 (due to historically elevated benzene levels) was
      collected and containerized for disposal to avoid cross-contamination of shallow groundwater.
      All equipment was decontaminated properly after use at each well using procedures outlined in
      Section 3.6.

      3.5         SAMPLE COLLECTION AND ANALYSIS
      Groundwater samples were collected directly from the discharge tubing of the low-flow bladder
      pump at a reduced flow rate [no greater than 100 to 250 milliliters per minute (ml/min)]. Field
      sample measurements for pH, temperature, specific conductivity, redox, dissolved oxygen, and
      turbidity were collected immediately following sample collection and recorded in the bound log
      book. Recorded field parameter readings are listed with laboratory data in Appendix E. Samples
      were placed in coolers on ice immediately following sample collection.
      All samples sent to the laboratory were analyzed for VOCs, SVOCs, inorganic compounds,
      metals and miscellaneous parameters (see Table 2-1). Groundwater quality results were

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      SECTIONTHREE                                                      On-Site Groundwater investigation

      compared to previous analytical results (see historical monitoring well data in Appendix E) and
      analysis was performed to provide a comprehensive characterization of groundwater quality. In
      addition, piezometric maps were prepared for the shallow groundwater and deep aquifer to
      estimate groundwater flow direction.

      3.6      EQUIPMENT DECONTAMINATION PROCEDURES
      The following procedures were followed for pump decontamination:
            ❑ Wash with Alconox® detergent and tap water (surface).
            ❑ Rinse with tap water (surface).
            ❑ Rinse with pesticide-grade hexane or methanol.
            ❑ Rinse with acetone (pesticide-grade).
            ❑ Rinse with distilled and deionized (ASTM Type II) water.
            ❑ Total air dry.


      3.7      GROUNDWATER FLOW

      3.7.1 Shallow Groundwater
     A pieometric map of the shallow water bearing unit, based on water levels measured in the 10
     shallow monitoring wells (constructed in the surficial fill), is shown on Figure 3-1. This map
     shows groundwater flow generally from northwest to southeast toward the Passaic River. The
     groundwater gradient was estimated at 0.0025. Based on an estimated hydraulic conductivity for
     historic fill of 1.2 x 10-1 cm/sec (Woodward-Clyde Consultants 1985), the average groundwater
     velocity was calculated at 0.18 feet/day. Shallow groundwater flow is influenced by city sewer
     lines that run across the northern part of the site parallel to the former Roanoke Avenue. These
     lines and surrounding backfill appear to act as a sink to shallow groundwater, causing flow lines
     to deflect toward the sewer lines- Tidal effects of the nearby Passaic River have no impact on
     gradient or flow direction at the site.

     3.7.2     Deeper Sand Aquifer
     A piezometric map of the deep water bearing unit, based on water levels measured in the five
     deep monitoring wells (constructed in the deeper sand aquifer), is shown on Figure 3-2. This
     map shows groundwater flow primarily west to east toward the Passaic River. The groundwater
     gradient for the deeper aquifer is estimated at 0.002. Flow rates are estimated at 0.002 feet/day.
     Tidal effects of the nearby Passaic River have little impact on gradient and no impact on flow
     direction in the deeper aquifer at the site.




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      SECTIONTHREE                                                    On-Site Groundwater Investigation

      A comparison of groundwater head between the shallow groundwater and deep aquifer shows a
      slight net downward head. These head differences indicate that the intervening peaty clay is an
      effective barrier to flow and vertical migration.


      3.8              ANALYTICAL RESULTS
      On-site groundwater field data and analytical results for the shallow fill and deeper sand aquifer
      were reviewed and evaluated in conjunction with results obtained from previous sampling rounds
      collected between 1985 and 1995. These data are presented in Appendix E with constituent
      concentrations that exceeded New Jersey Class HA groundwater standards bracketed.


      3.8.1 Shallow Groundwater
      Fourteen monitoring wells were sampled as part of the on-site shallow groundwater
      investigation. Results indicated that arsenic and lead were randomly distributed and exceeded
      New Jersey Class IIA groundwater standard criteria in P-1, P-2, P-3, P-5, P-6, P-7, P-10, and P-
      12. Manganese is present above criteria in all of the aforementioned wells.
      Monitoring wells P-6 and P-10, located within potential source areas, exhibited PAH, benzene,
      toluene, ethylbenzene, and xylene (BTEX) concentrations that exceed the criteria. Other shallow
      monitoring wells, including P-IS near former lagoon F, generally were clean of organic
      contaminants, with the exception of the presence of 2,4-dimethylphenol.
      Figure 3-3 shows the data expressed in milligrams per liter (mg/L) with brackets showing
      exceedance of New Jersey Class IIA groundwater standard criteria. Detected concentrations of
      contaminants without Class IIA criteria are listed on data tables included in Appendix E.
      Figures 7-3 through 7-12 show organic concentrations (mostly PAHs) in monitoring wells
      plotted against distance from upgradient monitoring well locations. Each figure shows
      concentration decreases with distance and projects that concentrations would be within New
      Jersey Class IIA groundwater standard criteria at the downgradient property line. In addition,
      Figures 7-13 through 7-18b show those same organic contaminants plotted against time for
      monitoring wells P-1, P-2, P-5, P-7, P-10 and P-IiS. These plots indicate a significant
      concentration decrease over the time period 1987 through 1999. The distance and time plots
      considered together indicate that natural biodegradation is a rapid process at this site and is
      responsible for shallow groundwater quality improvement.
     Evaluation of groundwater quality parameters that are indicators of biological degradation (e.g.,
     dissolved oxygen (DO), methane, and sulfate) tend to support intrinsic bioremediation as a
     contributing mechanism to natural attenuation. For example, biological degradation of organic
     compounds in aerobic conditions will decrease dissolved oxygen and as biological activity
     progresses to an anerobic state, methane is generated(see Figure 3-3). The above mentioned
     figure indicates that DO is suppressed where significant organic contamination is found in
     groundwater (wells P-6 and P-10) and DO concentrations rebound with increasing distance from
     biologically active source areas_ Likewise, methane concentrations are highest where oxygen is
     depleted (wells P-3, P-6, P-7, P-I 1 S and P-13) and anaerobic conditions may exist, and lower at
     increasing distance from source areas (wells P-4 and P-9)                         -
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      SECTIONTHREE                                                     on-site Groundwater Investigation
      3.8.2 Deeper Sand Aquifer
      Five monitoring wells were sampled as part of the on-site deeper sand aquifer investigation.
      Results indicated that manganese (for all deep monitoring wells) and arsenic (in PD-1, PD-2, and
      PD-11) were present above the New Jersey Class IIA groundwater standard criteria.
      Both upgradient and downgradient perimeter monitoring wells (PD-2, PD-5, PD-1, and PD-7)
      and the deep monitoring well in the center of the site near former lagoon F (PD-1 1) exceeded the
      criteria for BTX compounds; 2,4-dimethylphenol; and phenol. Chlorohenzene was detected at
      concentrations in excess of Class HA groundwater standard criteria only at PD-1 and PD-1 1.
      Figure 3-4 shows the data expressed in mg/L with brackets showing exceedance of New Jersey
      Class IIA groundwater standard criteria. Detected concentrations of contaminants without Class
      IIA criteria are listed on data tables included in Appendix E.
      Characteristic quality of deep groundwater was distinctively different from shallow groundwater
      quality. For example, deeper groundwater was about 5 degrees F cooler than shallow
      groundwater. Benzene, toluene and xylene were detected both in upgradient and downgradient
      deep well samples, indicating potential off-site sources of these contaminants. These volatile
      organic chemicals were not widely detected in shallow monitoring well samples. PAR
      concentrations, characteristic of shallow groundwater quality, were only detected at one deep
      monitoring well (PD-2) and at significantly lower levels than levels generally detected in shallow
      monitoring wells.




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      SECTIONFOUR                                                  On-Site Former Lagoon Investigation

      4.1          OBJECTIVE AND APPROACH
      The objective of the on-site lagoon investigation was to determine if residual lagoon materials
      are a potentially significant source of groundwater contamination. The residual lagoon materials
      were sampled for characterization.                                                   -

      4.2          LAGOON SAMPLING LOCATIONS
      One representative sample was collected from each of the former lagoons (see Figure 2-1). The
      borings were located in areas that intersect the most lagoon material based upon the observations
      made in the investigation conducted by CH2M Hill in 1992 and the NJDEP's site inspection in
      December 1998.

      4.3          SAMPLING PROCEDURES
      A Geoprobe® was used to collect lagoon samples. Each sample was screened immediately using
      a PID, and the reading was recorded.
      All sampling techniques were in accordance with the methods described in the 1992 NJDEP
      Field Sampling Procedures Manual. Solid wastes that were generated at these locations were
      placed in drums or other appropriate containers and managed as described in Section 9 of the
      work plan.

      4.4         SAMPLE COLLECTION AND ANALYSIS
      A geologist recorded field observations (i.e., visual, olfactory, and field instrument
      measurements) on the material contained in the push-tubes or split-spoon samplers retrieved
      from the boreholes. Lagoon samples were collected with stainless-steel sampling equipment,
      placed in suitable containers, and submitted for analysis at Lancaster Laboratories.

      4.5 EQUIPMENT DECONTAMINATION PROCEDURES
      Sampling equipment was decontaminated in accordance with the 1992 NJDEP Field Sampling
      Procedures Manual. Drilling rigs were steam-cleaned thoroughly or manually scrubbed after
      initial arrival on-site and between drilling locations. Large equipment and machinery were
      steam-cleaned at a temporary decontamination pad. Small equipment (e.g., hand augers,
      split-spoons, trowels) was decontaminated at the edge of the exclusion zone.
     All decontamination fluids and wastes were containerized for characterization and proper
     disposal. The outside of all sample containers was decontaminated prior to packing for shipment
     to the lab.




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     SECTIONFOUR                                                  On-Site Former Lagoon investigation

      4.6           ANALYTICAL RESULTS
     Field data and analytical results for the on-site former lagoon investigation were reviewed and
     evaluated in conjunction with results obtained from previous investigations. Results indicated
     that lagoon materials were present in borings CO2-01, E02-02, G03-02, I03-02, J07-01, and
     M09-01. All materials encountered had the consistency of hardened tar, with the exception of
     sample J07-01, which was described as filter cake. The presence of lagoon materials at these
     sampling locations was consistent with the findings of the test pit investigation conducted by
     CH2M Hill in 1992. Total PAH concentrations in the samples ranged from 1,100 to 83,000
     mg/kg. Only two samples, CO2-01 (within the footprint of former lagoon A) and E02-02 (within
     the footprint of former lagoon B) had total PAH concentrations much higher than fill samples
     from nearby soil boring locations. The concentrations were 41,000 mg/kg and 83,000 mg/kg
     respectively. PAH concentrations for fill samples from nearby borings typically ranged up to
     35,000 mg/kg. Therefore, total PAH concentrations of most of the lagoon samples were similar
     to total PAH concentrations of nearby soil (fill) samples. Analytical data from lagoon samples
     are presented in Appendix C.




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      SECTIONFIVE                                          Off-Site Soil and Groundwater Investigations

      5.1            OBJECTIVE AND APPROACH
      The objective of the off-site soil and groundwater investigation was to determine the nature and
      potential sources of off-site contamination. A literature review was performed and data collected
      from reports [through a Freedom of Information Act (FOIA) request] regarding previous and
      ongoing soil and groundwater investigations on adjacent properties. In addition, DuPont
      assessed off-site contamination by evaluating the data from the perimeter investigation.

      5.2            LITERATURE REVIEW AND FOIA DATA
      DuPont retained Latham and Watkins to conduct a literature review to determine ownership
      history and historical use of properties proximal to the DuPont Pitt-Consol site. Documents were
      obtained through FOIA requests with various state agencies. In addition, aerial photographs and
      Sanborn Insurance Maps were-reviewed. A report summarizing these findings is contained in
      Appendix G.

      5.3            PERIMETER INVESTIGATION
      As part of the SI/RI, DuPont drilled 17 Geoprobe® borings at the perimeter of the site to collect
      samples from the surface fill, base of fill, and the peaty clay for complete laboratory analysis.
      Four of the 17 boreholes extended to the lower confining clay, with samples collected for
      complete laboratory analysis. Groundwater monitoring wells, 12 of which are located at or near
      the site perimeter, were also sampled and analyzed.

      5.4            RESULTS

      5.4.1          Literature Review and FOIA Data
      The Latham and Watkins study found that the DuPont Pitt-Consol facility was surrounded by
      facilities of varying size and shape, primarily consisting of oil, gas and solvent refineries, plants
      and factories (see Figure 5-1). The area upgradient (north and northwest) of the site has an
      extensive history of production of creosote, roofing tar, coatings and felts, solvents, paints, and
      lacquers. Within a one-mile radius of the site there were 365 hazardous waste sites identified in
      a 1995 ERIIS survey. Contaminants associated with the processes listed above include the same
      constituents that are found in media at the Pitt-Consol site. In an area with a complex industrial
      history such as the Ironbound, problems of delineation and remediation are compounded by the
      history of property abandonment and illegal hazardous waste dumping. Therefore, due to the
      significant number of contamination sources, the industrial filling of the area, the fact that the
      primary COCs at the site are commonly found in asphalt roadways and macadam (which
      surround the site), and the existence of multiple upgradient sites with similar constituents of
      concern. DuPont feels that additional efforts to delineate constituents to residential soil criteria
      offsite are unwarranted.


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      SECTIONFIVE                                   of-Site Soil and Groundwater investigations

      5.4.2       Perimeter Investigation
      Perimeter soil boring samples from the fill showed contaminants and concentrations
      characteristic of surficial soils in the adjacent AOCs. In other words, perimeter samples adjacent
      to AOC 2 and AOC 3 showed contamination with BTX-type compounds and PAHs. Perimeter
      samples from the easternmost portion of AOC 1 and the former administration area did not show
      contamination from these chemicals. Appendix D, Figures D-13 through D-24 show perimeter
      sample locations with color-coded symbols that represent the degree of Residential Direct
      Contact Soil Cleanup (RDCSC) criteria exceedances. Table 2-4 shows analytical "hits" and
      exceedances of RDCSC criteria for perimeter samples only.
      Perimeter groundwater samples from the shallow fill tended to mirror perimeter soil sample
      results. Shallow well samples from the perimeter of AOCs 2 and 3 showed elevated levels of
      BTX compounds, PAHs, cresol, and phenol. Shallow well samples from the eastern perimeter of
      AOC I and the former administration area generally were clean compared to New Jersey
      Class IIA groundwater standard criteria.
      Perimeter samples from deep monitoring wells adjacent to AOC 2 and AOC 3 (generally
      upgradient) showed elevated levels of chlorobenzene; benzene; toluene; xylene;
      2,4-dimethylphenol; and phenol. Perimeter samples from downgradient deep monitoring wells,
      PD-1 and PD-7 (for some compounds), showed similar contamination. Deeper monitoring wells
      did not show elevated PAHs except for PD-2, which is located in an area where the confining
      peaty clay unit is thin or possibly absent. PAH levels at PD-2 were much lower than those found
      in nearby shallow monitoring wells.




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      SECTIONSIX                                                      Quality Assurance and Quality Control
      The following quality assurance and quality control (QA/QC) samples were collected during the
      sampling events (see Appendix B of work plan for further definition of QA/QC samples):
           1        Field duplicate samples
           ❑ Trip blanks (laboratory-sealed) to accompany each sample shipping container that
             contained VOC analysis containers
           ❑ Equipment blanks for each day of sampling
           U        Matrix spike samples and matrix spike duplicate samples

      Equipment blanks were obtained at a rate of one per day by pouring laboratory-supplied
      American Society for Testing and Materials (ASTM) Type TI distilled/deionized water over the
      sampling equipment and transferring the water into sample containers. The blank sample was
      shipped with the other samples. collected that day. All QA/QC sampling indicated that the
      resultant data were of adequate quality.
      Samples and chain-of-custody forms were placed in coolers with the original bottles, packed in
      wet ice, and sealed for custody purposes. The laboratory chain-of-custody forms were used to
      document sample possession and the requested analytical parameters. Samples were shipped to
      the laboratory by a courier provided by the laboratory or overnight shipping.




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     SECTIONSEVEN




                                                                                                             Recommendations
                                                                                                     and
                                                                            Conclusions
     7.1         CONCLUSIONS
     During this SURI, 204 soil samples, seven lagoon characterization samples, and 19 groundwater
     samples were collected and analyzed. In addition, 13 permeability tests were conducted, seven
     replacement monitoring wells were installed, groundwater levels were measured in monitoring
     wells, and an off-site file search was conducted. DuPont's assessment of these data plus
     previous data and information (see the Preliminary AssessmentPitt-Consol; CRG 1998)
     resulted in the conclusions listed below.
           U Site Characterization Complete
             Data from over 200 samples coupled with information gleaned from 10 years worth of
             previous investigations were adequate to accomplish study objectives and facilitate site
             reuse via our presumptive remedy -- engineered soil cover. Additional efforts to delineate
             constituents to residential soil criteria offsite are unwarranted because primary COCs at
             the site are commonly found in asphalt roadways and macadam (which surround the site)
             and at neighboring properties.
          ❑     Vertical Extent of Soil Contamination
                Despite some exceedances of the NRDCSC criteria in the peaty clay layer, this layer
                appears to be an effective barrier (hydraulic conductivity ranging from 8 x 10-06 to 8 x 10"
                ° em/sec — see Appendix A) to vertical migration and is therefore considered the vertical
                extent of contamination. In AOC 3, where the peaty clay layer is less than 2 feet or
                possibly absent, contamination may extend to the deeper sand aquifer. Random
                exceedances in some samples from the peaty clay layer probably are a result of sampling
                method cross-contamination (i.e., "dragging" contamination downward with sampling
                probe rather than vertical infiltration).
          ❑ Significant Source Area()
            A practical definition of source area has been developed to identify and assess
            contaminated areas that potentially require mitigation. The definition below was used to
            outline such areas and determine the depths of concern. An area was considered a.
            potentially significant source if the following conditions were met_
                           Presence of at least one contaminant at a concentration of more than 1,000 times it's
                           relevant criteria; and
                           Presence of that same contaminant in groundwater (as detected in monitoring
                           well(s) near the downgradient property line) at a concentration more than 10 times
                           the New Jersey Class I1A groundwater standard criteria.

                Based on the definition above, no potentially significant source areas were identified on
                the site.




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     SECTION SEVEN                                                   Conclusions and Recommendations

             ❑ Areas to Address in RA WP
               In order to facilitate redevelopment of the site, DuPont proposes to address areas
               characterized solely by a single soil contaminant exceedence in excess of 1,000 times the
               relevant criteria. Five such areas (see Figure 7-1) were outlined based on the "1,000
               times" criteria.
             ❑ Natural Biodegradation of Shallow Groundwater
               With the exception of shallow monitoring wells P-10 (located within the footprint of
               former lagoon C) and P-6 (located adjacent to a former tar tank area), other shallow
               monitoring wells are generally clean of organic compounds. In addition, comparison of
               historical to recent data shows significant decreases in contaminant loadings over time at
               individual wells. Based on these data, it appears that extensive natural biodegradation of
               organic contaminants is occurring.
             ❑ Deeper Aquifer
               Deeper groundwater quality reflects a different contaminant suite from the shallow zone.
               Although phenolics and cresols are present, BTX compounds were detected at elevated
               levels. These BTX compounds, not widely encountered in shallow groundwater and not
               associated with on-site activities, were detected in upgradient wells, indicating off-site
               sources.


     7.2             RECOMMENDATIONS
     DuPont recommends a phased approach to site remediation. Phase 1 would consist of a
     Remedial Action Work Plan (RAWP) focused on addressing soil areas outlined on Figure 7-1.
     Phase 2 would consist of design and construction of a soil cover to eliminate the only significant
     exposure pathway, direct contact with site soils.




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                                         FIGURES




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                                         TABLES




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                                        10074
                                                   TABLE 2-2

                                            PITT CONSOL
                                       BORING SUMMARY TABLE



                    ..
              Boring
                 rtng;No: ':: ` ' AOC: No:' : Sample T
                                                 p Type         No: : ::   AOC No ''' Sample Type




                                                              ;;Boring.
                                                      e
                                                          .
                                Perimeter &
             A02-01           Former Admin        3     H12-01             AOC 1          3
                                Perimeter &
             A05-01           Former Admin        3     F08-01             AOC 1          3
                                Perimeter &
             A08-01           Former Admin        3     F07-01             AOC 1          D
                                Perimeter &
             A10-01           Former Admin        3     G08-02             AOC 1          W
                                Perimeter &
             A13-01           Former Admin       4+k    F11-01             AOG 1          D
                                Perimeter &
             B14-01           Former Admin        3     D11-01             AOC 1          D
                                Perimeter &
             F15-01           FormerAdmin         3*    Ell -01            AOC 1          D
                                Perimeter &
             J16-01           Former Admin        3     E10-01             AOC 1          3
                                Perimeter &
             L15-01           Former Admin        3     F12-01             AOC I          D
                                Perimeter &
             M16-01           FormerAdmin        4+k    E12-01             AOC 1          D
                                Perimeter &
              -0 1
             Nil              Former Admin        3     E13-01             AOC 1          3
                                Perimeter &
             N08-01           Former Admin        3     F12-02             AOC 1          D
                                Perimeter &
             K06-01           Former Admin        3     F13-01             AOC 1          D
                                Perimeter &
             K04-01           Former Admin       3+k    E13-02             AOC 1          D
                               Perimeter &
             J02-01           Former Admin       4+k    E14-01             AOC 1          D
                               Perimeter &
             H01-01           Former Admin        3     E15-02             AOC I         D+k
                               Perimeter &
             E02-01          Former Admin         3     E15-01             AOC 1         D
                               Perimeter &
             B01-01          Former Admin        4+k    D13-01             AOC 1          3

             M11-02           AOC 1            3          F14-01           AOC 1         D

             Ku -Cl           AOC 1            D          E14-02           AOC 1         D

             L12-01           AOC 1            D          D14-01           AOC 1          3




    313100                                          Page 1                                      TABLE2-2.xls




CONFIDENTIAL                                                                                   DUPONT00087710
                                                                                               ALCD-PUBCOM 0006996
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                                        10075
                                                  TABLE 2-2

                                             PITT CONSOL
                                        BORING SUMMARY TABLE



               Boring No.::: 'AOC No. ;:':.Sampi Type       Baring No   : AOCNo




                                                                                  .:
                                                                                       :Sample:Type
             L10-01           AOC 1           3         C15-01            AOC 1                        D

             K10-01           AOC 1           D         E08-01            AOC I                        D

             111-01           AOC 1           3         C12-01            AOC 2                        3

             J11-01           AOC 1           D         Al2-01           AOC 2                         3

             J09-01           AOC 1         D+k         B13-01           AOC 2                         3

             J08-02           AOC 1           3         B11-01           AOC 2                         3

             J08-01           AOC 1          D          C06-01           AOC 2                         3

             108-01           AOC 1 .         3         C06-02           AOC 2                         3

             J06-01           AOC 1           3         C05-01           AOC 2                        3+k

             H05-01          AOC I           D          D08-01           AOC 2                         3

             107-01           AOC 1         D+k         D09-01           AOC 2                        3

             105-01          AOC 1           3*         B08-01           AOC 2                        3+k

             H07-01          AOC 1           D          B09-01           AOC 2                        3

             104-01          AOC 1           D          C10-01           AOC 2                        3

             104-02          AOC 1           D          C07-01           AOC 2                        3

             103-01          AOC 1           3          D02-01           AOC 3                        3

             H03-01          AOC 1          D+k         CO3-01           AOC 3                        3

             G03-01          AOC 1          3+k         CO2-01           AOC 3                        W

             H04-01          AOC I           D          F02-01           AOG 3                        3

             G05-01          AOC 1           D          E03-01           AOC 3                        3

             F05-01          AOC 1           3          E02-02           AOC 3                        W




    3/3/00                                         Page 2                                                    TABLE2-2.xls




CONFIDENTIAL                                                                                                DUPONT00087711
                                                                                                            ALCD-PUBCOM 0006997
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                                        10076
                                                          TABLE 2-2

                                                    PITT CONSOL
                                               BORING SUMMARY TABLE


                                                                                                    . . . ... ... .. . .. . : .. . : . . .
               Boeing No:'; ..., "AOC:No.'..    Sampfe:.Type; ;::'Boring:,No.:..:: .` .':AOC. No.   ' Santpfel:ype

            F04-01                AOC 1               D         102-01                 AOC 3                          3

            G06-01                AOC 1               D         G03-02                 AOC 3                        W

            G06-02               AOC 1                D         J03-02                 AOC 3                         3

            F06-01               AOC 1                D         103-02                 AOC 3                        W

            E06-01               AOC 1                D         K07-01                 AOC 3                         3

            G08=01               AOC 1                D         K05-01                 AOC 3                         3

            G09-01               AOC 1                D         J07-01                 AOC 3                        W

            G11-01               AOC 1               4+k        L08-01                AOC 3                         3

                                                                M09-01                AOC 3                        W
            sample i ypes
            3 = Surface fill, biased fill/top of peaty clay and peaty clay
            4 = Same as above plus lower confining clay
            D = Discrete "worst case" sample
            k = Permeability testing of peaty clay
            W = Waste sample
            Notes
            *Peaty clay sample not collected




   3!3/00                                                  Page 3                                                                   TABLE2-2.xls




CONFIDENTIAL                                                                                                                    DUPONT00087712
                                                                                                                                 ALCD-PUBCOM 0006998
     Case 2:22-cv-07326-MCA-LDW Document 291-17 Filed 01/31/24 Page 76 of 80 PageID:
                                       10077


                                                                Table 24
                                             Summary Soil Data Statistics - N.J.NRDCSC Criteria

                                                                                 4      1                                          r
             BENZO(A)PYRENE                      mg/k          218       147         146       233.82      7.400.00       0.66 V       35427
             BENZO(A)ANTHRACENE                  m /kg         218       156         139       263.70      8,600.00         4           65.93
             BENZO(B)FLUORANTHENE                mg/kg         218       156         139       254.12      8,700,00         4           63.53
             DIBENZ(A,H)ANTHRACENE               mglkg         218        73          72        34.50        700.00      0.66           52.27
             INDENO(1,2,3-CD)PYRENE              mglkg         218       122         102       123.73      3,500.00         4           30.93
             SENZO(K)FLUORANTHENE                mg/kg         218       124         106       120.12      5,000.00         4           30.03
             CHRYSENE                            m !kg         218       157          81       272.06      8,900,00        40            6.80
             ARSENIC TR                          m 1k          181       178          56        22.49        741,00        20            1.12
             LEAD TR                             m /kg         181       181          36       486.66     1$,900.00       600            0.81
            NAPHTHALENE                          m !kg         218       176          19      1,985.97    96,000.01      4200            0.47
             ZINC TR                             mglkg         181       180          17       648.52     13,000.00      1500            0.43
            BENZENE                              m !k          181       63           17         5.47       230.00        13             0,42
             COPPER TR                           mg/kg         181      180            3       102,71      2,770.00      600             0.17
            FLUORANTHENE                         mg/kg         218      188           2        624.76     16,000.00     10000           0.06
            PYRENE                                 !k          218      185           2        495.51     13.000.00     10000            0.05
            XYt.ENE (TOTAL)                      mg/kg        181       119           1         43.33      2,000.00      1000            0.04
            CARBON TETRACHLORIDE                 mglkg        181         0           0         1.17         31.50         4            0.29
            CIS-1,3-DICHLOROPROPENE              mg/k         181         0           0         1.17         31.50         5            0.23
            TRANS-I,3-DICHLOROPROPENE            mglkg        181         0           0         1.17         31.50         5            0.23
            TETRACHLOROETHENE                    mglkg        181         0           0         1.17         31.50         6            0.20
            VINYLCHLORIDE                        mg!          181         0           0         1.17         31.50         7            0.17
            1,2-DICHLOROETHANE                   mg/k         181         0           0         1.17         3'[.50       24            0.05
            CHLOROFORM                           m!           181         0           0         1.17         31.50        28            0.04
            FLUORENE                             m /          218       163           0       285.52      9,300.00      10000           0.03
            ANTHRACENE                           mg/kg        218       163           0       281.19      5,100.00      10000           0.03
            1,2-DICHLOROPROPANE                               181         0           0         1.17         31.60        43            0.03
            BROMODICHLOROMETHANE                  mglk        181         0           0         1.17         31.50      46,00           0.03
            ACENAPHTHENE                          m /kg       218       158           0       244.71      6,000.00 10000.00             0.02
            NICKEL TR                             m /kg       181       181          D         57.44        ,010.00   2400.00           0.02
            TRICHLOROETHENE                       mg/kg       181        1            0         1.18        31.50       54.00           0.02
            CADMIUM TR                            mg/kg       181       117          0          1.82        30.80      100.00           0.02
            TOLUENE                               mg/kg       181        99           0        17.82       560.00     1000.00           0.02
            1.1.2.2-TETRACHLOROETHANE            mglkg        181        0            0         1.17        31.50       70.00           0.02
            MERCURY                              mglkg        181       123           0         4.49       270.00      270.00           0.02
            VANADIUM TR                          mglkg        181       181          0        110.68      2,920.00    7100.00           0.02
            4-METHYLPHENOL                       m !kg        181       87           0        110.80      2,500.00 10000.00             0.01
            BARIUM TR                            m /kg        181       181          0        484.41     10,700.00 47000.00             0.01
            PHENOL                               m !kg        181       78           0         96.00      3,000.00 10000.00             0.01
           ANTIMONY TR                           mg           181       77           0         Ti6          81.80     340.00           0.01
           ETHYLBENZENE                          mg/kg       181        91           0         8.97        250.00    1000.00           0.01
            2,4-DIMETHYLPHENOL                   mg/         181        99           0         84.99     1,600.00 10000.00             0.01
            1,1-DICHLOROETHENE                   m /         181         0           0         1.17         31.50     150.00           0.01
           2-METHYLPHENOL                        m           181        75           0         58.51     1,700.00 10000.00             0.01
           METHYLENE CHLORIDE                    m !k        181         0           0         1.17         31.50     210.00           0.01
           BROMOFORM                             m1          181         0           0         1.17         31.50     370.00           0.00
           1,1,2-TRICHLoROETHANE                 m!          181         0           0         1.17         31.50     420.00           0.00
           CHLOROBENZENE                         mglkg       181         0           0         1.17         31.50     680.00           0.00
           1.1-DiCHLOROETHANE                    mglkg       181         0           0         1.17        31.50     1000.00           0.00
           DIBROMOCHLOROMETHANE                  mg/kg       181         0           0         1.17        31.50     1000.00           0.00
           CIS-1,2-DICHLOROETHENE                mg/kg       181         0           0         1.17        31.50     1000.00           0.00
           CHLOROMETHANE                         mglk        181         0           0   -     1.17        31.50     1000.00           0.00
           BROMOMETHANE                          mg/kg       181         0           0         1.17        31.50     1000.00           0.00
           1.1.1-TRICHLOROETHANE                 m /kg       181         0           0         1.17        31.50     1000.00           0.00
           SELENIUM TR                           mglkg       181        60           0         2.26        59.50     3100.00           0.00
           SILVER TR                             m /kg       181        68           0         0.64         9.44     4100.00           0.00
           1,2-DICHLOROBENZEN                    mg/k        181        1            0         1.21        31.50    10000.00           0.00
           TRANS-I,2-DICHLOROETHENE              mg/kg       181        0            0         1.17        31.50    10000.00           0.00
           1,4-DICHLOROBENZENE                   m           181        0            0         1.17        31.50    10000.00           0.00
           1,3-DICHLOROBENZENE                   mn/kg
                                                 m /kg       181        0            0         1.17        31.50    10000.00           0.00
           rOTAL CYANIDE (SOLID)                 mg g
              •••-••• - • •          ^r'=~   -            r.urnrnr = rvumoer ur rum           NUMMAbOVe = Number of Hits above Criteria
           Avg = Average concentration                    Max = Maximum concentration encountered
           Limit = NRDCSC Criteria                        Factor = Average concentration divided by Limit




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                                                                                                                                         ALCD-PUBCOM 0006999
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                                                                       Table 2-4
                                                  Perimeter Soil Data Statistics - N.J. RDCSC Criteria


            BENZO(A)PYRENE                      my/kg          54        34         34         138.76         2,300.00         0.66      210.25
            BENZO(A)ANTHRACENE                  mg/kg          54        35         34         159.71         2,400.00         0.90      177.46
            BENZO(B)FLUORANTHENE                mg/kg          54        35         32         134.98         2,400.00         0.90      149.98
            BENZO(K)FLUORANTHENE               mg/kg           54        26         26          78.37         1.200.00         0.90       87.08
            IN0ENO(1,2,3-CD)PYRENE              mg/kg          54        30         27          72.43         1,400.00         0,90       80.47
            DIBENZ(A,H)ANTHRACENE               mg/kg          54        15         14          31.83          420.00          0.66       48.22
            CHRYSENE                           mg/kg          54         35         22         172.07         2,400,00         9.00      19.12
            NAPHTHALENE                        mg/kg          54         32         16        3,103.71       96,000.01       230.00      13.49
            LEAD TR                            mg/kg          54         54         13         648.50        18,900.00       400.00       1.62
            ARSENIC TR                         mg/kg          54         53        14           28.64          741.00         20.00       1.43
            BENZENE                            mg/kg          54         13         4           4.22            81.00          3,00       1.41
            ZINC TR                            .j3 /kg        54         53         5          632.40        13,000.00      1500.00       0.42
            BARIUM TR                          m lkg          54         54          7         246.22         2,750.00       700.00       0.35
            ANTIMONY TR                        mg/kg          54         21         3                           81.80         14.00       0.31
            MERCURY                            mg/kg          54         32         2                          111.00         14.00       0.30
            COPPER TR                          m !kg          54         54         3                         2,770.00       600.00       0.27
            VANADIUM TR                        mg/kg          54         54         3                          922.00        370.00       0.19
            PYRENE                             mg/kg          54         39         4          307.51        4,300.00       1700.00       0,18
            FLUORANTHENE                       mg/kg          54         43         2                        6.600,00       2300.00       0.16
            NICKEL TR                          m              54         54         2                          335.00        250.00       0.15
            FLUORENE                           mg/kg          54         35         1     W2       2         9,300.00       2300.00       0.12
            XYLENE (TOTAL)                     mg/kg          54         24         1          28.70           620.00        410.00       0.07
            A     APIITHENE                    mg/kg          54         32         1         196,95         6,000.00      3400.00        0.06
            2,4-DIMETHYLPHENOL                 mg/kg          54         15         1          41.78         1.600.00       1100.00       0.04
           CAi BON TETRACHLdRIDE               mg/kg          54         0          0           1.23            31.50         2.00        0.61
            VINYL CHLORIDE                      ggkg          54         0          0           1.23            31.50         2.00        0.61
           TRANS-i,3-DICHLOROPROPENE           mg/kg          54         0          0           1.23           31.50          4.00       0.31
           TETRACHLOROETHANE                   mg/kg          54         0          0           1.23           31.50          4.00       0.31
           1,2-DICHLOROETHANE                  mg/kg          54         0          0           1.23           31.50          8.00       0.20
           1,1-DICHLOROETHENE                  mg/kg         54          0          0           1.23           31.50          8.00       0.15
           BROMODICHLOROMETHANE                mg/kg         54          0          0           1.23           31.50         11.00       0.11
           CHLOROFORM                          mg/kg         54          0          0           1.23           31.50         19.00       0.06
           1,1,2-TRICHLOROETHANE               mg/kg         54          0          0           1.23           31.50         22.00       0.06
           TRICHLOROETHENE                     mg/kg         54          1         0            1.24           31.50         23.00       0.05
           1,1.2,2-TETRACHLOROETHANE           mg/kg         54          0         0            1.23           31.50         34.00       0,04
           CHLOROBENZENE                       mg/kg         54          0         0            1.23           31.50         37.00       0.03
           SELENIUM TR                         mg/kg         54         17         0            1.78           11.00         63.00       0,03
           CADMIUM TR                          mg/kg         54         25         0            1.03            8.55         39.00       0.03
           METHYLENE CHLORIDE                  mg/kg         54          0         0           1.23            31.ö          49.00       0.03
           4-METHYLPHENOL                      mg/kg         54         15         0           61.94         2,100.00      2800.00       0.02
           ANTHRACENE                          mg/kg         54         35         0          188.61         5,100.00     10000.00       0.02
           BROMOMETHANE                        mg/kg         54          0         0           1.23            31.50         79.0        0.02
           CIS-1,2-DICHLOROETHENE              mg/kg         54          0         0           1.23            31.50         79.00       0.02
           BROMOFO M                           mg/kg         54          0         0           1,23            31.50         86.00       0.01
           TOLUENE                             mg/kg         54         18         0          12.13           330.00       1000.00       0.01
           DIBROMOCHLOROMETH                                 54          0         0           1.23            31.50        110.00       0.01
           SILVER TR                                         54         i6         0           075              9,44        110.00       0.01
           ETHYLBENZENE                                      54         20         0           6.62          120.00        1000.00       0.01
           1,1,1-TRICHLOROETHAN                              54          0         0           1.23            31.50       210.00        0.01
           PHENOL                                            54         13         0          37.33          980.00       10000.00       0,00
           CHLOROMETHANE                                     54          0         0           123            31.50        520.00        0.00
           1,i-DICHLOROETHANE                      g         54          0         0           123            31.50        570.00        0.00
           1,4-DICHLOROBENZENE                 mg/kg         54         0          0           1.23           31.50        570.00        0.00
           TRADES-1,2-DICHLOROETHENE           mg/kg                    0          0           1.23           31.50       1000.00        0.00
           TOTAL CYANIDE (SOLID)               mg/kg                    6          0           0,73           11.60       1100.00        0.130
           1,2-DICHLOROBENZENE                                          0          0           1.23           31,50       5100.00        0.00

           •--•••-•••r ••^•••-~• ~• ~~••r•`~             ,.umme - rvuuuuei of nua        rlumrinf\Dove = number 01 Hits above Criteria
           Avg = Average concentration                   Max - Maximum concentration encountered
           Limil = NRDCSC Criteria                       Factor= Average concentration divided by Limit




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                                                 Table 2-5

                     Comparison of Historic Fill to Pitt-Consol Soil Data
                                          Metals Concentration


                                          Typical Historic Fill (mg/kg)1   Pitt-Consol Soil Data I     N
          Contaminant                     Maximum Average                  Maximum Average


          Berylium                                80        1.23                  NR          NR

          Lead                               10,700      574.00               18,900      486.66



          Notes:     1 Taken from N.J.A.C. 7:26E, Technical Requirements for Site Remediation, Table 4-2.
                     2 Selected data from Pitt-Consol SI/RI analytical results.
                     NR Analysis not requested.




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                                                                      Table 2-6
                                 Summary Shallow Well Data Statistics Compared to N.J. Class IIA Groundwater Criteria
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             BENZENE                     mg/I                    14               12               12        0.21    1.40     0.001        211.21
              BENZO(K)FLUORANTHENE       mg1I                    14                4                 2       0.09    1.20     0.002         45.86
             BENZO A ANTHRACENE          mg/I                   14                 6                2        0.37    4.90     0.010         36.68
             2,4-DlMETHYLPHENOL          mg/I                   14               11                  7       3.52   23.00     0.100         35.21
             IRON                        mg/I                   14               14                14        8.49   89.30     0.300         28.30
             BENZO B FLUORANTHENE        mg/I                   14                5                 2        0.24    3.10    0.010          23.80
             CHRYSENE                    mg/I                   14                6                 2        0.37    4.90    (1020          18.34
             AMMONIA NITROGEN            mg/I                   14               13                11        5.93   21.40    0.500          11.86
             BENZO(A)PYRENE              mg/I                   14                5                 2        0.21    2.70    0.020         10.26
             MANGANESE TR                mg/I                   14               14                14        0.50    2.00    0.050          9.93
             ARSENIC TR                  mgA                    14                8                 8        0-07    0.86    0.008          9.32
             XYLENE (TOTAL)              mgA                    14               12                 8        0.34    LF      0.040          8.50
             PYRENE                      mgA                    14                8                 2        1.19   16.00    0.200          5.93
             FLUORENE                    mg/I                   14                9                 2        1.66   22.00    0.300          5.54
             INDENO 1,2,3-CD PYRENE      mg/I                   14                3                 2        0,11   1.40     0.020          5.37
             FLUORANTHENE               mg/I                    14                9                 2       1.57    21.00    0.300          5.24
             ACENAPHTHENE               mg/I                    14               11                 3       1.85    24.00    0.400          4.62
             LEAD TR                    mg/I                    14                5                 4       0,02     0.17    0.010          2.29
             DIBENZ(A.H)ANTHRACENE      mg/I                    14                2                 2       0,03    0,42     0.020          1.62
            CHLOROBENZENE               mg/I                    14                4                 1       0.01    0.04     0.004          1.31
            SULFATE BY IC (SOLID)       mg/I                    14               14                 6      305.09 1,520.00 250,000          1.22
             PHENOL                     mgA                     14                9                 2       4.45    50.00    4,000          1.11
            CHROMIUM TR                 mg/I                    14               12                 2       0.10    1.21     0.100          1.02
            ALUMINUM                    mg/I                    14                9                 4       0.19    0.72     0.200          0.97
            ANTHRACENE                  mg/                     14                9                 1       0.82   11.00     2.000          0.41
             TOLUENE                    mg/I                    14               12                 1       0.31    1.90     1.000          0.31
            BARIUM TR                   mg/I                    14               14                 1       0.42    2.13     2.000          0.21
            NICKEL TR                   mg/I                    14                8                 1       0.02    0.19     0.100          0.18
            ETHYLBENZENE                mg/I                    14               10                1        0.12    0.76     0.700          0.17
            TOTAL CYANIDE (SOLID)       mgA                     14               3                 1        0.03    0.34     0.200          0.13
            METITYLENE CHLORIDE         mgA                    14                0                  0       0.01N10.03       0.002          2.54
            1,1,2,2-TETRACHLOROETHANE   mgA                    14                0                 0        0.01             0,002          2.54
            1.2-DICHLOROETHANE          mg/I                   14                0                 0        0.01            0.002           2.54
            TRICHLOROETHENE             mg/I                   14                 0                0        0.00            0.00            2.54
            TETRACHLOROETHENE '         mgA                    14                0                 0        0.00            0.001           2.54
            1,2-DICHLOROPROPANE         mgA                    14                0                 0        0,00            0.001           2.54
            BROMODICHLOROMETHANE        mg/I                   14                0                 0        0.00    0.01    0.001           2.54
            1,1,2-TRICHLOROETHANE       mg/I                   14                0                 0        0,01    0.03    0.003          1.69
            1,1-DICHLOROETHENE          mg/I                   14                0                 0        0.00    0.01    0.002          1.27
            CARBON TETRACHLORIDE        mg1I                   14                0                 0        0.00    0.01    0.002          1.27
           VINYL CHLORIDE               mg/I                   14                0                 0        0.01    0.03    0.005          1.01
            13ROMOMETHANE               mgA                    14                0                 0        0.01    0.04    0.010          0.76
            BROMOFORM                   mg/I                   14                0                 0        0.00    0.01    0.004          0.63
           ❑IBROMOCHLOROMETHANE         mg/I                   14                0                 0        0.01    0.03    0.010          0.51
           CHLOROFORM                   m911                   14                0                 0        0.00    0.01    0.006          0.42
           CHLOROMETHANE                mgA                    14                0                 0        0,01    0.04    0.030          0.25
           MERCURY                      mg/I                   14                5                 0        0.00   0.00     0.002          0.19
           ANTIMONY TR                  mgn                    14                0                 0       0.00    0.00     0.020          0.15
           1,1.1-TRICHLOROETI-JANE      mgll                   14                0                 0       0.00    0.01     0.030          0,08
           CADMIUM TR                                          14                0                 0       0.00    0.00     0,004          0.08
           1,4-DICHLOROBENZENE                                 14                1                 0       0.01    0,03     0.075          0,08
           1,1-DICHLOROETHANE                                  14                0                 0       0.01    0.03     0,070          0.07
           SELENIUM TR                  mg/I                   14                1                 0       0.00    0.01     0.050          0.07
           TRANS-1,2-DICHLOROETHENE     mg/I                   14                0                 0       0.01    0.03     0.100          0.05
           SILVER TR                                           14                3                 0       0,00    0.00     0.020          0.05
           NITRATE BY !O SOLID)                                14                1                 0       0.35    2.26    10.000          0.03
           COPPER TR                                           14                7                 0       0.01    0.05    1.000           0.01
           1,2-DICHLOROBENZENE        ]mgA                     14                0                 0       0.01    003     0.600           0.01
           1,3-DICHLOROBENZENE                                 14                0                 0       0.01    0.03    0.600           0,01
           LJNCTR
                         .....   •'• "• ....,.,   M„"     ~Y~li.-.,   '-             U, nw,              rvumt1u cove x Number at Hits above Criteria
           Avg = Average concentration                    Max= Maximum concentration encountered
           Limit - Class IIA Groundwater Criteria         Factor = Average concentration divided by the Limit




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                                                                   Table 2-7
                                Summary Deep Well Data Statistics Compared to N.J. Class IIA Groundwater Criteria

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          BENZENE                                        mg/I         5           5                 5                   2.62     7.30     0.001 2.620.00
          2,4 DIMETHYLPHENOL                             mg/I         5           5                 5                   56.24  180.00     0.100  562.40
          IRON                                           mg/I         5           5                 5                   12.06   32.40     0.300   40.27
          AMMONIA NITROGEN                               mg/I         5           5                 5                   19.48   31.70     0.500   38.96
          XYLENE OTAL)                                   mgA          5           5                 5                   1.24     2,20     0.040   31.00
          MANGANESE TR                                   mg/I         5           5                 5                   1.12     2.50     0.050   22.33
          PHENOL                                         mg/I         5           5                 3                   75.21  210.00     4.000   18,80
          CHLOROBEN2 ENE                                 mg/I         5           2                 2                   0.05     0.19     0.004   11.68
          ARSENIC TR                                     mgA          5           3                 3                   0,06    0.27      0.008   8.00
          SULFATE BY IC (SOLID)                          mg/I         5           4                 3                1,746.17 5,220.00 250.000    6.98
          ALUMINUM                                       mg/I         5           5                 4                   1.13    2.54      0.200   5.65
          BENZO FLUORANTHENE                             mg/I         5           1                1                    0.01    0.02      0.002   4.90
          TOLUENE                                        mg/I        5            5                 2                   1.83    5.20     1.000    1.83
          BENZO(A)ANTHRACENE                             mg/I        5            1                1                    0.01    0.04      0.010   1.40
          BENZO(B)FLUORANTHENE                           mg/I        5            1                1                    0.01    0.03     0,010    1.28
          MERCURY                                        mg/I        5.          1                 1                    0.00    0.01     0.002    1.06
          CHRYSENE                                       mgA         5           1                 1                    0.01    0.03     0.020    0.68
          BENZO(A)PYRENE                                 mg/I        5           1                 1                    0.01    0.02     0.020    0.59
          1,1,2,2-TETRACHLOROETHANE                      mg/I        5           0                 0                    0.01    0.03     0.002    4.60
          TETRACHLCROETHENE                              mg/I        5           0                 0                    0.00    0.01     0.001    4.60
          TRICHLOROETHENE                                m A         5           0                 0                    0.00    0.01     0.001    4.60
          METHYLENE CHLORIDE                             mg/I        5           0                 0                    0.01    0.03     0.002    460
          1,2-DICHLOROETHANE                             mg/I        5           0                 0                    0,01    0.03     0.002    4.60
          BROMODICHLOROMETHANE                           mg/I        5           0                 0                    0.00    0.01     0.001    4.60
          1,2-DICHLOROPROPANE                            mg/I        5           0                 0                    0.00    0.01     0.001    4.60
          1,1,2-TRICHLOROETHANE                          mg/I        5           0                 0                   0.01     0.03     0.003    3.07
          CARBON TETRACHLORIDE                           mg/I        5           0                 0                   0.00     0,01     0.002    2.30
          1,1-DICHLOROETHENE                             mgA         5           0                 0                   0.00     0.01     0.002   2.30
          VINYL CHLORIDE                                 m           5           0                 0                   0,01     0.03     0.005   1,84
                                                           n
          BROMOMETHANE                                   mg/I        5           0                 0                   0.01     0.04     0.010   1.38
          BROMOFORM                                      mg/I        5           0                 0                   0.00     0.01     0,004   1.15
          DIBROMOCHLOROMETHANE                           mg/I        5           0                 0                   0.01     0.03     0.010   0.92
          CHLOROFORM                                    moll         5           0                 0                   0.0f     0.01     0,006   0.77
         LEAD TR                                        mg/I         5           2                0                    0.01     0,01     0.010   0.54
         INDENO(1,2,3-CD)PYRENE                         mg/I        5           1                  0                   0.01    0.02     0.020    0.47
         CHLOROMETHANE                                  mgA          5          0                  0                   0.01    0.04      0.030   0.46
         ETHYLBENZENE                                   mg/I        5            5                 0                   0.31    0.46     0.700    0.45
         DIBENZ(A,H ANTHRACENE                          m /I        5           0                 0                    0.01    0.02     0.020    0.38
         ACENAPHTHENE                                   mg/1        5            4                0                    0.12    0.34     0.400    0.29
         FLUORENE                                       moll        5           3                 0                    0.07    0.24     0.300    0.24
         CHROMIUM TR                                    mg/I        5           4                 0                    0.02    0.04     0.100    0.19
         1,1,1-TRICHLOROETHANE                          mg/I        5           0                 0                    0.00    0.01     0.030    0.15
         1,1-DICHLOROETHANE                             mg/I        5           1                 0                    0.01    0.03     0.070    0.15
         BAR       TR                                   m A         5           5                 0                    0.27    0.94     2.000    0.13
         ANTIMONY TR                                    mg/I        5           0                 0                    0.00    0.00     0.020    0.13
         1,4-DICHLOROBENZENE                            mg/I        5           0                 0                    0.01    0.03     0.075    0.12
         PYRENE                                         mg/I        5           2                 0                    0.02    0.08     0.200 - 0.12
         FLUORANTHENE                                   mg/I        5           3                 0                   0.03     0.13     0.300    0.11
         TRANS-1,2-DICHLOROETHENE                       mg/I        5           0                 0                   0.01     0,03     0.100    0.09
         CADMIUM TR                                     mgA         5           0                 0                   0.00     0.00     0.004    0.08
         SELENIUM TR                                    mg/I        5           1                 0                   0.00     0.01     0.050    0.08
         TOTAL CYANIDE (SOLID)                          mg/1        5           4                 0                   0.01     0.03     0.200    0.07
         NICKEL TR                                      mg/I        5           2                 0                   0.01     0.01     0.100    0.05
         SILVERTR                                       mg/I        5           1                 0                   0.00     0.00     0.020   0.05
         NITRATE BY IC (SOLID)                          mg/I        5           0                 0                   0.20     0.20    10.000   0.02
         ZINC TR                                        m A         5           5                 0                   0.09     0.39     5.000   0.02
         1,2-DICHLOROBENZENE                            mg/I        5           0                 0                   0.01    0.03     0.600    0,02
         1.3-DICHLOROBENZENE                            mg/I        5           0                 0                   0.01    0.03     0.600    0.02
         ANTHRACENE                                     mgA         5           2                 0                   ti -             2.000    0.01
           OPPER TR                                     mg
                               _. -_... .--                             - ,.,,,,,,vv.                       Qve - rvumoer OT Hits aGOve criteria
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         Avg = Average concentration                            Max = Maximum concentration encountered
         Limit = Class IIA Groundwater Criteria                 Factor W Average concentration divided by Limit




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